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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

DAVID QUALLS, an individual                                                            PLAINTIFF

v.                                Case No. 4:21-cv-01073-KGB

CITY OF RUSSELLVILLE,
a municipal corporation, et al.                                                     DEFENDANTS

                                              ORDER

       Before the Court are several pending motions. Plaintiff David Qualls filed a pending

motion to proceed in forma pauperis (Dkt. No. 1). For good cause shown, the Court grants the

motion (Dkt. No. 1).

       Also before the Court is a joint motion to dismiss without prejudice filed by Mr. Qualls

and defendants City of Russellville, J. Richardson, in his individual capacity and as a police officer

for the Russellville Police Department, and K. Cromer, in his individual capacity and as a police

officer for the Russellville Police Department (collectively, “Russellville Defendants”) (Dkt. No.

15). The parties state that they have conferred regarding this case and have agreed to dismiss this

matter without prejudice (Id., ¶ 1). The motion accords with the terms of Federal Rule of Civil

Procedure 41(a)(1)(A)(ii). For good cause shown, the Court grants the joint motion to dismiss

without prejudice (Dkt. No. 15). The action is dismissed without prejudice.

       The Court denies as moot the Russellville Defendants’ motion to compel (Dkt. No. 13).

       So ordered this 24th day of June, 2022.

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                                                      Kristine G. Baker
                                                      United States District Judge
